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 + L.L.M. TRIAL ADVOCACY
 # L.L.M. TAXATION




June 25, 2024

Re:    Janet Monge v. University of Pennsylvania, et al.
       Our File No.: 223-19456 TP/p
       U.S. District for the Eastern District of PA, No. 2:22-cv-02942-MRP
Via E-Filing
Honorable Mia R. Perez
U.S. District Court for the Eastern District of PA
U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Your Honor:

        We represent Defendant, Hyperallergic Media, in the above-referenced matter. We are in
receipt of the Court’s Status Conference Notice dated June 24, 2024 which requires trial counsel
to appear for a conference on July 2, 2024. I have a long-planned family vacation scheduled for
next week and respectfully request that my colleague, James B. Corrigan, Jr., Esquire, be permitted
to appear in my place on behalf of Defendant at the conference.

       We thank Your Honor for your attention to this matter.

Respectfully submitted,

THOMAS PASCHOS & ASSOCIATES, P.C.

By:    Thomas Paschos
       Thomas Paschos, Esquire
       (tpaschos@paschoslaw.com)

TP/mms
cc:  All Counsel (Via Electronic Filing)
